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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov



In re:


PERFORMANCE INSURANCE COMPANY SPC                                   Chapter 15

      Debtor in a Foreign Proceeding.                               Case No.: 21-12609-AJC
________________________________________/


        SECOND EX-PARTE UNOPPOSED MOTION FOR RELIEF FROM
   CERTAIN PROVISIONS OF RECOGNITION ORDER, TO REPATRIATE FUNDS
     TO THE JOLS IN THE CAYMAN ISLANDS, AND FOR RELATED RELIEF
         Now Come Kenneth Krys and Neil Dempsey (the “JOLs”), in their capacity as the Joint

Official Liquidators of Performance Insurance Company SPC (the “Debtor”), with consent of

State National Insurance Company (“State National”), and the shareholders of Sustainable

Insurance Company SP, a segregated portfolio of the Debtor ( “Sustainable SP”) and file this

motion (the “Motion”) for entry of an order of the Court, in the form attached hereto as Exhibit

“A” (the “Proposed Order”), granting relief from certain provisions of the Recognition Order (as

defined below), to repatriate certain funds to the JOLs in The Cayman Islands (the location of the

foreign main proceeding), and to grant other relief so as to implement certain settlement

agreements approved by the court presiding over the foreign main proceeding (“Cayman Court”).

In support of the Motion, the JOLs state as follows:




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                                       RELEVANT FACTS
   I.        Background

        1.     The Debtor is a segregated portfolio company incorporated in the Cayman

Islands.

        2.     On March 19, 2021, the Debtor commenced this Chapter 15 case by filing its

Motion for Order Granting Recognition of Foreign Main Proceeding Pursuant to 1515 and 1517

of the Bankruptcy Code and Granting Related Relief [ECF Nos. 1 & 2] (the “Recognition

Motion”). Pursuant to the Recognition Motion, the Debtor sought an order granting (i) recognition,

pursuant to 11 U.S.C. § 1517 of the Debtor’s voluntary liquidation proceeding pending in the

Cayman Islands (the “Voluntary Liquidation”) and (ii) related relief pursuant to sections 1520 and

1521 of the Bankruptcy Code. On April 13, 2021, this Court held a hearing on the Recognition

Motion and on April 15, 2021 entered an Order Granting Recognition of Foreign Main Proceeding

Pursuant to §§ 1515 and 1517 of the Bankruptcy Code and Granting Related Relief [ECF No. 17]

(the “Recognition Order”).

        3.     As a segregated portfolio company, the Debtor’s assets and liabilities can be

allocated to segregated portfolios so that the assets and liabilities of each portfolio are ring-fenced

from the assets and liabilities of other portfolios and the Debtor.

        4.     The Debtor currently has the following segregated portfolios: (i) Bottini Insurance

SP; (ii) Gen 1 Insurance Company SP; (iii) Goldenstar Holdings Company SP; (iv) Greystone

Insurance SP; (v) Hudson York Insurance Company SP; (vi) Omega Insurance Company SP; (vii)

Performance 5 SP; (viii) Prewett Insurance Company SP; (ix) Smart Insure SP; (x) SSS Insurance

SP; (xi) Sustainable Insurance Company SP; and (xii) Triangle RGK SP (collectively, the

“Segregated Portfolios”).


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          5.       For purposes of this Motion, the relief sought herein relates only to Sustainable SP.

          6.       The general background for this Chapter 15 case, the Debtor, and its segregated

portfolios is set forth in the petition for recognition and accompanying papers. DE 2

   II.          The Voluntary Liquidation Becomes Official Liquidation

          7.       On February 26, 2021, the Debtor commenced its voluntary wind up under Cayman

Islands law, namely section 117(a) of the Companies Act, 2010 (the “Voluntary Petition”).

          8.       In connection therewith, on March 18, 2021, Mr. Krys and Mr. Dempsey filed a

Petition for Leave and Court Supervision in the Grand Court of the Cayman Islands (the “Cayman

Court”) seeking to subject the Voluntary Petition to the supervision of the Cayman Court, which

the Cayman Court granted by entry of a Supervision Order on April 6, 2021 (the “Cayman

Petition”). As a result Mr. Krys and Mr. Dempsey became Joint Official Liquidators.

   III.         Settlements Reached and Approved Regarding Sustainable SP.

          9.       As part of the efforts to wind up the affairs of and liquidate the Debtor and the

Segregated Portfolios, the shareholders of the Sustainable SP and State National engaged in good

faith negotiations for a consensual resolution regarding their interests in and to Sustainable SP.

          10.      Specifically and as a result of such good faith negotiations State National’s claims

against Sustainable were resolved pursuant to the terms of a confidential settlement agreement.

The Cayman Court has approved and authorized the JOLs to proceed with the acts necessary to

implement that settlement agreement.

          11.      The JOLs are advised that counsel for State National and/or Lexington Insurance

Company are filing motions or other requests regarding the Kentucky Consent Orders in the

Kentucky Litigation as they deem necessary.



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                                     RELIEF REQUESTED

       12.     The terms of the settlement approved in the Cayman Court may be subject in whole

or in part to certain provisions of the Recognition Order.

       13.     The Recognition Order provides, among other things, that:

               All persons and entities are stayed from executing against the assets of the Debtor
               or the Debtor’s bankruptcy estate located in the United States. See Recognition
               Order, ¶ 8.

               All persons and entities are prohibited from transferring, encumbering or otherwise
               disposing of, or exercising control over any assets of the Debtor or the Debtor’s
               bankruptcy estate, located in the United States. See Recognition Order, ¶ 9.

       14.     The Recognition Order further provides:

               17.   Notwithstanding anything in this [Recognition] Order to the contrary, by
               agreement of the Foreign Representatives:

                       A.      For Consent Order Accounts that are located in the territorial
               jurisdiction of the United States of America, the Foreign Representatives shall not
               take any action that is inconsistent with the Kentucky Consent Orders in regard to
               such Consent Order Accounts, unless the Foreign Representatives have sought and
               received, after notice and hearing, either consent of this Court to take such action
               or an adjudication from this Court that the Foreign Representatives may take such
               action notwithstanding the existence of the Kentucky Consent Orders.

                       B.      For Consent Order Accounts that are located outside the territorial
               jurisdiction of the United States of America, the Foreign Representative shall not
               take any action that is inconsistent with the Kentucky Consent Orders in regard to
               such Consent Order Accounts unless the Foreign Representatives have sought and
               received, after notice and hearing, consent of the Court in the Foreign Main
               Proceeding to take such action.

                        For avoidance of doubt, nothing in this Order is intended or should be
               construed to (a) prevent the litigants in the Kentucky Litigation to seek further relief
               from the Foreign Main Proceeding, or from this Court regarding the Consent Order
               Accounts or the Kentucky Litigation including requesting relief from the automatic
               stay, (b) prevent the Foreign Representative from obtaining signatory authority or
               similar rights over any bank account(s) that comprise the Consent Order Accounts
               or to cause the transfer of funds in any of those bank accounts to another banking
               institution in the same territorial jurisdiction if necessary for the purpose of gaining
               control in accordance with the statutory obligations of the Foreign Representatives,
               (c) effectuate a waiver of the rights, remedies, and defenses of the litigants in the
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                Kentucky Litigation or the Foreign Representative regarding the impact of the
                automatic stay on the Kentucky Consent Orders, or (d) prevent this Court from
                considering any rulings or adjudications made by the Court in the Foreign Main
                Proceeding with regard to the Consent Order Accounts or to communicate with
                such Court as permitted by law on such subject.

See Recognition Order, ¶ 17(A)-(B).

        15.     Moreover, the JOLs seek approval to repatriate any funds of Sustainable SP in the

United States of America to the accounts in the control of the JOLs in The Cayman Islands in order

to implement the settlement.

        WHEREFORE, the Parties respectfully request that the Court enter the Proposed Order

attached hereto as Exhibit "1", and grant such other and further relief as is necessary and

appropriate.

        Dated: August 23, 2022                          Respectfully submitted,

                                                        SEQUOR LAW, P.A.
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                                                        Miami, Florida 33131
                                                        Telephone: (305) 372-8282
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                                                By:     /s/ Gregory S. Grossman
                                                        Gregory S. Grossman
                                                        Florida Bar No. 896667
                                                        Juan J. Mendoza
                                                        Florida Bar No.: 113587

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic
filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such
filing to all CM/ECF participants in this case and via regular US mail to all participants who are
not on the list to receive e-mail notice/service for this case as indicated on the service list on August
23, 2022.
                                                 By:      /s/ Gregory S. Grossman
                                                          Gregory S. Grossman

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                                          EXHIBIT “1”
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov



In re:


PERFORMANCE INSURANCE COMPANY SPC                                  Chapter 15

      Debtor in a Foreign Proceeding.                              Case No.: 21-12609-AJC
________________________________________/


   ORDER GRANTING SECOND EX-PARTE UNOPPOSED MOTION FOR RELIEF
   FROM CERTAIN PROVISIONS OF RECOGNITION ORDER, TO REPATRIATE
    FUNDS TO JOLS IN THE CAYMAN ISLANDS, AND FOR RELATED RELIEF
         THIS MATTER came before the Court upon the Ex-Parte Unopposed Motion for Relief

from the Stay Provisions of Recognition Order and for Related Relief [ECF No. _______] (the

“Motion”) of Kenneth Krys and Neil Dempsey (the “JOLs”), in their capacity as the Joint Official

Liquidators of Performance Insurance Company SPC (the “Debtor”), with the consent of State

National Insurance Company (“State National”), and the shareholders of Sustainable Insurance
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Company SP,, a segregated portfolio of the Debtor (“Sustainable SP”) for entry of an Order

granting relief from the certain provisions of the Recognition Order1 so as to enable the JOLs to

implement certain settlement agreements approved by the Cayman Court with the counterparties

thereto; and the Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157(a)

and 1334; having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; having found that the relief requested in the Motion is in the best interests of the Debtor,

the estate, and other parties in interest; and having reviewed the Motion and having determined

there is just cause for the relief granted herein, it is

           ORDERED THAT:

           1.      The Motion is GRANTED.

           2.      The JOLs are relieved from the provisions of the Recognition Order to effectuate

the settlements of Sustainable SP, including specifically the stay provisions contained therein, so

as to enable the JOLs to implement the settlements approved by the Cayman Court regarding

Sustainable SP. The Recognition Order remains in full force and effect as it relates to the Debtor

and the Segregated Portfolios other than Sustainable SP. Should the terms of the settlements

approved by the Cayman Court not be effected, the JOLs will seek the direction of the Cayman

Court and return to this Court, if appropriate.

           3.      The JOLs are authorized and empowered to take such actions as may be reasonably

necessary to implement the terms of the settlements including the repatriation of funds of

Sustainable SP in the United States of America to accounts under control of the JOLs in The

Cayman Islands.



1
    All capitalized terms used herein and not otherwise defined shall have the meaning set forth in the Motion.


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       4.      To the extent applicable, the counterparties to the settlement agreements shall be

relieved from the stay provisions of the Recognition Order in order to consummate and implement

the settlements thereunder.

       5.      This Court shall retain jurisdiction with respect to all matters, claims, rights, and

obligations arising from or related to the implementation of this Order.

                                                ###

Submitted By:
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Copies to:

Gregory S. Grossman, Esq.
[Attorney Grossman is directed to serve a conformed copy of this order on all interested parties
and file a certificate of service with the court




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